                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                  )
                                          )
v.                                        )       NO. 3:00-00188
                                          )       JUDGE CAMPBELL
JERMOLAI DAQUINN GOFF                     )


                                          ORDER


       Pending before the Court is Defendant’s Motion for Early Termination of Supervised

Release (Docket No. 1081) and the Government’s Response (Docket No. 1082). For the reasons

stated in the Government’s Response (Docket No. 1082), the Motion is DENIED.

       IT IS SO ORDERED.



                                                  __________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




 Case 3:00-cr-00188      Document 1083        Filed 08/14/12    Page 1 of 1 PageID #: 379
